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D. Michael Lynn
State Bar I.D. No. 12736500
John Y. Bonds, III
State Bar I.D. No. 02589100
John T. Wilson, IV
State Bar I.D. No. 24033344
Bryan C. Assink
State Bar I.D. No. 24089009
BONDS ELLIS EPPICH SCHAFER JONES LLP
420 Throckmorton Street, Suite 1000
Fort Worth, Texas 76102
(817) 405-6900 telephone
(817) 405-6902 facsimile

ATTORNEYS FOR DEFENDANT JAMES DONDERO

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

In re:                            §                                Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                                Adversary No. 20-03190
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

                JAMES DONDERO’S EMERGENCY MOTION IN LIMINE
                  AND TO EXCLUDE EVIDENCE AND ARGUMENT

         James D. Dondero (“Defendant” or “Dondero”), the defendant in the above-captioned

adversary proceeding, pursuant to Rules 103(a),(c), 402, and 403 of the Federal Rules of Evidence,

made applicable to this proceeding through Rule 9017 of the Federal Rules of Bankruptcy

Procedure, and 11 U.S.C. § 105(a), hereby files this Emergency Motion in Limine and to Exclude

Evidence and Argument (the “Motion”) in connection with the hearing on Plaintiff’s Motion for


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an Order Requiring Mr. James Dondero to Show Cause Why He Should not be Held in Civil

Contempt for Violating the TRO [Adv. Dkt. 48] and Debtor’s Memorandum of Law in Support of

Motion for an Order Requiring Mr. James Dondero to Show Cause Why He Should Not Be Held

in Civil Contempt for Violating the TRO [Adv. Dkt. 49] (collectively, the “Contempt Motion”)

scheduled for February 23, 2021 at 9:30 a.m. In support thereof, Defendant respectfully represents

as follows:

                                    I.     SUMMARY OF ARGUMENT

        1.       Through the Contempt Motion, the Debtor seeks to impugn and prejudice Dondero

and color the Court’s view of the Contempt Motion by introducing all sorts of irrelevant and

prejudicial evidence completely unrelated to Dondero’s compliance with the terms of the TRO.

Among these are Dondero’s alleged trespass of the Debtor’s shared office space, the request for

documents of The Dugaboy Investment Trust (“Dugaboy”) and The Get Good Trust (“Get Good”),

and matters related to Dondero’s cell phone. 1 While the Debtor’s true motive in pursuing these

irrelevant allegations in the context of a contempt proceeding is unclear, what is unmistakable is

that these allegations are unrelated to any provision of the TRO and the Court’s consideration of

this evidence and related argument will unduly prejudice Dondero. Moreover, allowing for a

lengthy and convoluted evidentiary hearing on these irrelevant matters will significantly distort

the record and distract the Court from focusing on the key issue in the context of the Contempt

Motion: namely, whether the Debtor can show by clear and convincing evidence that Dondero

violated a clear and specific provision of the TRO. Several actions complained of by the Debtor

in the Contempt Motion do not support this claim for relief and the Contempt Motion does not


1
  While Dondero also believes that evidence related to the CLO Motion and the “K&L Gates” letters is also generally
irrelevant to the Contempt Motion because these actions did not violate a clear and specific provision of the TRO,
Dondero is not seeking to exclude such evidence through this motion and the admissibility and merits of such evidence
can be addressed at the hearing.


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plead a plausible claim for relief that these actions violated the TRO. The Court should therefore

exclude and/or strike any evidence and argument related to these irrelevant and prejudicial matters,

including (i) Dondero’s alleged “trespass” of the Debtor’s shared office space; (ii) the Debtor’s

attempt to have Dondero produce Dugaboy and Get Good documents through the Contempt

Motion; and (iii) matters related to Dondero’s cell phone. Dondero further respectfully requests

that the Court prevent the Debtor from asking for substantive remedies related to this evidence and

argument, including any finding of trespass, any finding of spoliation or destruction of evidence,

and any request for production of documents, as these matters are improper in the context of a

contempt proceeding and, in any event, haven’t been properly pleaded as to satisfy applicable law

and notice standards.

                                 II.    JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334(b). The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       3.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The predicates of the relief requested in the Motion are sections 105(a) of title 11

of the United States Code (the “Bankruptcy Code”), Rules 103(a), (c), 402, and 403 of the Federal

Rules of Evidence, and Rule 9017 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

                          III.         ARGUMENT AND AUTHORITIES

       5.      Motions in limine allow a trial court to make a pretrial ruling on the admissibility

and relevance of evidence. Wechsler v. Hunt Health Sys., Ltd., 381 F. Supp. 2d 135, 140 (S.D.N.Y.

2003) (citing Luce v. United States, 469 U.S. 38, 41 n.4 (1984) (“Although the Federal Rules of

Evidence do not explicitly authorize in limine rulings, the practice has developed pursuant to the




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district court’s inherent authority to manage the course of trials.) (citing Fed. R. Evid. 103(c)). In

the Fifth Circuit, motions in limine are not improper or moot merely because the matter will be

tried to a judge rather than a jury. See, e.g., Atl. Specialty Ins. Co. v. Porter, Inc., 742 F. App'x 850

(5th Cir. 2018); Samson v. Apollo Res., Inc., 242 F.3d 629, 642 (5th Cir. 2001); Kinnerson v. Arena

Offshore, LP, 2019 U.S. Dist. LEXIS 104519 (W.D. La. June 21, 2019) (“the mere fact that a case

is being tried as a bench trial does not completely remove the Court's gate-keeping role.”)

        6.      Rule 103(c) of the Federal Rules of Evidence states as follows:

        (c) Court’s Statement About the Ruling; Directing an Offer of Proof. The court may
        make any statement about the character or form of the evidence, the objection made,
        and the ruling. The court may direct that an offer of proof be made in question-and-
        answer form.

Fed. R. Evid. 103(c).

        7.      Rule 402 of the Federal Rules of Evidence provides that irrelevant evidence is not

admissible. Fed. R. Evid. 402.

        8.      Rule 403 further provides that, even if evidence is relevant, “[t]he court may

exclude relevant evidence if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

        9.      The Court should exclude evidence, argument, and any request for a substantive

remedy or form of relief as to (i) Dondero’s alleged “trespass” of the Debtor’s shared office space;

(ii) the Debtor’s attempt to have Dondero produce Dugaboy and Get Good documents through the

Contempt Motion; and (iii) Dondero’s cell phone. None of these alleged actions are clearly

restricted by a clear and definite term of the TRO, nor are they even relevant to the determination

as to whether Dondero violated the TRO. Instead, the Debtor has made these allegations to confuse

the issues, improperly influence the Court’s opinion, and to unduly prejudice Dondero.



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           10.     While Dondero understands that the Court has expressed certain concerns over

some of the above allegations made in the Contempt Motion, the contempt proceeding is not the

proper context to address these matters since they do not relate to the TRO. Even if a contempt

proceeding otherwise could be, the Debtor’s Contempt Motion does not properly plead any

legitimate claim or request for relief with respect to these matters. If the Court would like to address

these matters, it should be done in the context of a clear, discrete request for relief, properly

pleaded, so that the Court and all parties can narrowly focus only on plainly relevant issues, which,

in this instance, could each be extremely complex and fact-intensive in their own right.

           11.     To illustrate Dondero’s argument further, the Court need do nothing more than read

the Debtor’s Contempt Motion (including the brief). Section B of the brief contains argument

regarding Dondero’s cell phone. But it does not state anywhere how the replacement (and alleged

disposal) of the phone violated the TRO. Instead, despite not being related to a violation of the

TRO, the Contempt Motion simply states that “the Court should find that Mr. Dondero has

attempted to spoil evidence and draw a negative inference.” But, as the Debtor fails to mention,

the majority of events surrounding the phone happened before the TRO was even entered. Dondero

has testified that he bought his replacement phone before the TRO was entered. His new phone

was activated either before or around the time the TRO was entered on December 10, 2020, and

Dondero has produced text messages from his new phone from December 10, 2020 onward. The

Debtor’s motion for entry of the TRO never mentioned Dondero’s phone and the phone was never

contemplated under any clear and specific term of the TRO or even mentioned at the hearing on

the TRO that occurred on December 10, 2020. 2 Accordingly, any evidence related to the phone is

irrelevant to this proceeding and should be excluded. And even if it somehow could be relevant,



2
    See Transcript of Proceedings in Adversary Proceeding Number 20-03190, dated December 10, 2020.


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without a clear and definite provision in the TRO restricting Dondero’s use of his phone, Dondero

cannot be held in contempt. See Waste Management of Wash. v Kattler, 776 F.3d 336, 343 (5th

Cir. 2015) (reversing district court’s contempt order for party’s failure to turn over iPad where no

“definite and specific” court order required the same).

        12.      Section G is similar. In this section, the Debtor asserts that Dondero violated the

TRO by preventing the Debtor from completing its document production related to The Dugaboy

Investment Trust and The Get Good Trust that the Debtor alleges, without support, are hidden on

its system. But whether these allegations are true or not is irrelevant to this proceeding because the

TRO contained no provision requiring these documents be produced or any provision in any way

related to the discovery matters between the Debtor and the Committee. If the Debtor or the

Committee believes they are entitled to discovery from Dugaboy or Get Good, they can seek to

conduct that discovery. But considering this matter in the context of a contempt proceeding against

Dondero individually confuses the issue, wastes the Court’s time, and potentially draws the Court

into the middle of a discovery dispute between those who aren’t even a party to this proceeding. It

is also unclear how the Debtor expected or expects Dondero to produce documents on the Debtor’s

system when he has been prevented from accessing the Debtor’s system for quite some time and

has not had access to it for months. Further, given that the Committee filed suit against Dugaboy

and Get Good in December 2020 and there is now a pending adversary proceeding 3, it seems that

trying to require Dondero (who is not the Trustee of the trusts) to produce these documents may

deprive Dugaboy and Get Good of their rights and discovery protections under the Federal and

Bankruptcy Rules. The TRO did not contemplate this issue and the Court should not consider it in

the context of this contempt proceeding.


3
 See Official Committee of Unsecured Creditors v. CLO Holdco, Ltd., et al., Adv. Proc. No. 20-03195, Amended
Complaint at Adv. Dkt. 6.


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       13.     Section C of the Contempt Motion contains another baseless and unsupported

allegation that Mr. Dondero violated the TRO by “trespassing on the Debtor’s property.” But as

the Court can easily see from the face of the TRO, the TRO contained no provision clearly

restricting Mr. Dondero’s ability to enter the Debtor’s shared office space on or after December

10, 2020. Nor could it because, as stated in the Debtor’s own pleading, the Debtor did not even

allegedly “evict” Mr. Dondero until nearly three weeks after the TRO was entered, on December

30, 2020. The Debtor has failed to state a plausible claim for relief on this allegation. Accordingly,

the facts and circumstances of this alleged “trespass” are irrelevant to this proceeding and should

be excluded from evidence and consideration by the Court.

       14.     Even if evidence related to the allegations made in sections B, C, and G meets the

relevance standard, the Court should exclude such evidence under FRE 403 because its probative

value is substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading

the Court, and wasting time. As stated above, the allegations in these sections do not satisfy the

relevance standard. Even if they can somehow satisfy the standard, the probative value in relation

to the TRO and the contempt proceeding is extremely tenuous at best and whether the allegations

are true or not has no bearing on whether Dondero violated the TRO. Instead, these allegations

were made in the context of this contempt proceeding in an effort to tarnish the Court’s opinion of

Dondero, to unfairly prejudice Dondero in responding to these allegations in the context of an

unclear motion and ill-defined hearing, and to corrupt this proceeding with evidence spanning a

wide variety of factual and legal issues not implicated by the TRO or Contempt Motion. The

potential probative value of this evidence is substantially dwarfed by the danger and prejudice that

will result to Dondero if the Court allows the consideration of all this evidence in the context of

this proceeding. Among other things, there is an imminent danger that the Court will spend a




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considerable amount of time hearing evidence that does not relate to whether Dondero violated the

TRO. If the Debtor is allowed to present all of this evidence, the Court will hear hours of irrelevant

testimony as to matters that have no bearing on whether Dondero complied with the TRO. This

not only wastes the Court’s time but confuses the issue and distracts the Court from whether

Dondero violated a clear and specific provision of the TRO. Moreover, given the complete lack of

adequate pleading in the Contempt Motion, considering this evidence and argument in the context

of any tangential request for relief purportedly made in the motion (for example, regarding

Dondero’s cell phone) deprives Dondero (and potentially others) of due process and fair notice

and opportunity to respond.

           15.     Finally, even if there is somehow a possibility that any of the foregoing actions

could potentially violate a term of the TRO, the Contempt Motion fails to state a plausible claim

for relief that these actions violated the TRO because the motion contains absolutely no

explanation or analysis as to what definite and specific provisions of the TRO were supposedly

violated by these actions. Instead, the analysis contained in the Contempt Motion is limited to the

following conclusory phrase that fails to satisfy even the most minimal pleading and notice

standards: “The Debtor easily meets the foregoing standards. Based on the evidence, there can be

no dispute that Mr. Dondero has wantonly and intentionally violated the TRO on many occasions,

in many ways. Mr. Dondero’s conduct cannot be justified or explained away and there is no basis

to oppose this relief requested herein.” 4 For this independent reason, the Court should exclude

evidence, argument, and any substantive request for relief related to the allegations contained in

sections B, C, and G of the Contempt Motion.

           16.     Because the allegations contained in sections B, C, and G of the Contempt Motion



4
    Contempt Motion, para. 22.


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are irrelevant to whether Dondero violated the TRO, the Court should exclude any of the Debtor’s

evidence allegedly in support of these allegations, including, without limitation, Debtor’s Exhibits

28-36, 40-47, and 54-55 5, and any testimony of any witnesses regarding the allegations made in

sections B, C, and G of the Contempt Motion. Dondero objects to the admissibility and

consideration of such evidence, including under Rules 402 and 403 of the Federal Rules of

Evidence. Dondero reserves the right to object to any and all other exhibits or other evidence

identified or proffered by the Debtor for any reason.

           17.     For the foregoing reasons, Dondero respectfully requests that the Court exclude

evidence, argument, and any request for a substantive remedy or form of relief as to (i) Dondero’s

alleged “trespass” of the Debtor’s shared office space; (ii) the Debtor’s attempt to have Dondero

produce Dugaboy and Get Good documents through the Contempt Motion; and (iii) Dondero’s

cell phone. This request is justified under the Federal Rules of Evidence and will alleviate the

Court from having to consider a wide variety of unrelated matters and complex legal issues in the

context of a matter that would otherwise be relatively straightforward. The Court should grant this

Motion and exclude the irrelevant and prejudicial evidence as requested herein.

           18.     Because the hearing on the Contempt Motion is set for February 23, 2021 at 9:30

a.m., Dondero respectfully requests that the Court set this Motion for hearing contemporaneously

with the Contempt Motion so the Court can hear argument regarding these evidentiary issues

before proceeding on the merits of the Contempt Motion. If the Court finds that sufficient cause

exists to consider this matter on Monday, prior to the hearing, Dondero is agreeable to such a

setting. A request for emergency hearing is being filed contemporaneously with this motion.




5
    See Debtor’s Supplemental Witness and Exhibit List filed on February 17, 2021 [Adv. Dkt. 101].


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                                                 CONCLUSION

           For the foregoing reasons, Dondero respectfully requests that the Court enter an order (i)

setting this matter for hearing contemporaneously with the Contempt Motion or sooner if the Court

believes it justified; (ii) granting the relief requested in this Motion; (iii) excluding and/or striking

evidence related to the allegations made in Sections B, C, and G of the Contempt Motion; (iv)

excluding and/or striking the Debtor’s evidence allegedly in support of these allegations,

including, without limitation, Debtor’s Exhibits 28-36, 40-47, and 54-55 6, and any testimony of

any witnesses regarding the allegations made in sections B, C, and G of the Contempt Motion; and

(v) providing Dondero such other and further relief to which he may be justly entitled.

Dated: February 20, 2021                              Respectfully submitted,

                                                      /s/ Bryan C. Assink
                                                      D. Michael Lynn
                                                      State Bar I.D. No. 12736500
                                                      John Y. Bonds, III
                                                      State Bar I.D. No. 02589100
                                                      John T. Wilson, IV
                                                      State Bar I.D. No. 24033344
                                                      Bryan C. Assink
                                                      State Bar I.D. No. 24089009
                                                      BONDS ELLIS EPPICH SCHAFER JONES LLP
                                                      420 Throckmorton Street, Suite 1000
                                                      Fort Worth, Texas 76102
                                                      (817) 405-6900 telephone
                                                      (817) 405-6902 facsimile
                                                      Email: michael.lynn@bondsellis.com
                                                      Email: john@bondsellis.com
                                                      Email: john.wilson@bondsellis.com
                                                      Email: bryan.assink@bondsellis.com

                                                      ATTORNEYS FOR DEFENDANT JAMES DONDERO




6
    See Debtor’s Supplemental Witness and Exhibit List filed on February 17, 2021 [Adv. Dkt. 101].


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                             CERTIFICATE OF CONFERENCE

       I, the undersigned, hereby certify that, on February 19, 2021, I conferred with counsel for
the Debtor in an attempt to resolve the relief requested by the Motion and the request for
emergency hearing. The Debtor has indicated it is opposed to the relief sought in the underlying
Motion, but is unopposed to the Motion being heard at the beginning of the hearing on Tuesday,
February 23, 2021 at 9:30 a.m.

                                                      /s/ Bryan C. Assink
                                                      Bryan C. Assink


                                 CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on February 20, 2021, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF system on counsel for the Plaintiff and
on all other parties requesting or consenting to such service in this case.

                                              /s/ Bryan C. Assink
                                              Bryan C. Assink




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